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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------)(
   UNITED STATES OF AMERICA,
                                                                ORDER
                    -against-                                   07-cr-0516-1 (SJF)

  FRANK WILSON,                                                                   FILED
                                                                            IN CLERK'S OFFICE
                                                                       U S DISTRICT COURT E 0 N y
                             Defendant.
  --------------------------------------------)(
  FEUERSTEIN, J.
                                                                        * MAY 21 2012 *
                                                                          LONG ISLAND OFFICE

           Before the Court is defendant Frank Wilson's ("Wilson") motion for a modification of his

  sentence pursuant to 18 U.S. C.§ 3582(c), in light of recent amendments to the United States

  Sentencing Guidelines. [Docket Entry No. 472]. For the reasons that follow, Wilson's motion

  for a sentence reduction is denied.



  L       Discussion


          '" [A] judgment of conviction that includes [a sentence of imprisonment] constitutes a

  final judgment' and may not be modified by a district court except in limited circumstances."

  Dillon v. United States, 130 S.Ct. 2683,2690, 177 L.Ed.2d 271 (2010) (quoting 18 U.S.C. §

  3582). "Section 3582(c)(2) establishes an exception to the general rule of finality 'in the case of

  a defendant who has been sentenced to a term of imprisonment based on a sentencing range that

  has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o)'

  and made retroactive pursuant to § 994(u)." Id.

          In evaluating a request for a sentence reduction pursuant to Section 3582(c), the Court


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   must perform a "two-step inquiry." Id. at 2691. First, the Court must "determine the prisoner's

   eligibility for a sentence modification and the extent of the reduction authorized." Id. Second,

   the Court must "consider any applicable § 3553(a) factors and determine whether, in its

   discretion, the reduction authorized by reference to the policies relevant at step one is warranted

   in whole or in part under the particular circumstances of the case." Id. "The question in [this]

   context is not what sentence is appropriate, but rather whether the sentence actually imposed

   should be reduced in light of an intervening retroactive amendment." United States v. Rivera,

   662 F.3d 166, 179 (2d Cir. 2011). "[W]hether to deny an otherwise eligible defendant's motion

   for a sentence reduction pursuant to 18 U.S.C. § 3582(c) is discretionary." United States v.

  Log;m,--- F.Supp.2d ----,2012 WL 616257, at *20 (E.D.N.Y. Feb. 23, 2012) (emphasis in

  original) (citing cases).

          On July 26, 2010, Wilson was sentenced by the Court to a term of eighty-four (84)

  months' imprisonment and five (5) years of supervised release. [Docket Entry No. 437]. Under

  the recent Guideline amendments, he is eligible for a sentence reduction. However, upon

  reviewing the Section 3553(a) factors, the Presentence Investigation Report, the materials

  associated with Wilson's sentencing, and the parties' submissions, and the Court finds that a

  sentence reduction is not appropriate in this case. The eighty-four (84) month sentence reflects

  the seriousness of the offense, serves the goal of deterrence, and promotes respect for the law.




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 II.      Conclusion



          For the foregoing reasons, Wilson's motion for a modification of his sentence pursuant to

 Section 3582(c) is denied.

 SO ORDERED.


                                                s/ Sandra J. Feuerstein

                                               Sandra J. Feuerstein
                                               United States District Judge


 Dated:          May 21,2012
                 Central Islip, New York




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